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                    List of Anticipated Witnesses by Deposition Designation

Plaintiffs’ List:

    1. Adkins, Jesse (30(b)(6)) (Google – Director of Product Management)

    2. Collins, Eli (30(b)(6)) (Google – VP of Product, Google DeepMind)

    3. Cromwell, Robert (30(b)(1)) (Microsoft – VP of Engineering)

    4. Ezell, Jeffrey (AT&T – VP of Business Development)

    5. Fox, Nicholas (Google – Sr. VP, Knowledge and Information)

    6. Giard, Jeffrey (T-Mobile – VP of Strategic Partnerships and Business Development)

    7. Laflamme, Francois (Motorola – Chief Marketing & Strategy Officer)

    8. Pancholi, Neal (Google – Director, Search Partnerships)

    9. Parakh, Phiroze (Google – Trust Lead, Google Search)

    10. Schechter, Michael (30(b)(6)) (Microsoft – VP of Bing Growth)

    11. Turley, Nick (30(b)(6)) (OpenAI – Head of Product, ChatGPT)

Google’s List:

    1. Beard, Charlie (Microsoft – Director, Partner Management, BD & Strategy)

    2. Cromwell, Robert (30(b)(1)) (Microsoft – VP of Engineering)

    3. Cromwell, Robert (30(b)(6)) (Microsoft – VP of Engineering)

    4. Ezell, Jeffrey (AT&T – VP of Business Development)

    5. Giard, Jeffrey (T-Mobile – VP of Strategic Partnerships and Business Development)

    6. Kim, Jay (Samsung – Head of the Customer Experience Office)

    7. Schechter, Michael (30(b)(6)) (Microsoft – VP of Bing Growth)

    8. Smutney, David (30(b)(6)) (Microsoft – Associate General Counsel, Competition
       Litigation)

    9. Standal, Jan (Opera – Senior VP of Product Marketing and Communication)
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10. Turley, Nick (30(b)(6)) (OpenAI – Head of Product, ChatGPT)

11. Utter, Brian (Microsoft – General Manager of Strategy)
